  Case 9:12-cv-80364-KAM Document 56 Entered on FLSD Docket 07/31/2012 Page 1 of 7

    IN TH E UNITED STATES DISTRICT CO URT FO R TH E SO UTH ERN
         DISTR ICT O F FLO R IDA W EST PALM BEACH D IV ISIO N
                                CA SE NO .12-80364-ClV-M A             N NON

 JOI4N KORM AN                      )          FILEDjy            n.c.
PrivateAttorneyGeneral,             )
                        Petitioner, )              Jtju q! 24,2
                                    )
                                    ) CIVILm HTNG SV W'     Gl:tB'JAT 1 N
                                                            .     '-

AURORA LOAN SERVICES LLC;           )
OFFICE OF CEO,AND PRES OF AUROM ;)               USURY
AUROM BANK FSB;                     )      CIVIL CONSPG ACY
M ERSCOR P H O LDIN GS,INC ;                          STELLIONATION
M O RTG AG E ELECTRON IC                               G TRINSIC FRAUD
REG ISTM TION SYSTEM S INC ;                         ATTEM PTED LARCENY
LEH M AN X S TR UST 2006-119                      FRAUDULENT CONVERSION
LA SA LLE BA NK N.A.asTRU STEE;                     CONSTRUCTW E FM UD
U .S.BAN COR P assuccessorTRUSTEE;                   VIOLATION OF FDCPA
A SSO CIATES LAND TITLE INC ;                         VIOLATION OF TCPA
TH EO DO RE SCH ULTZ,lndividual;                      VIOLATION OF FCRA
LAUR A M CCANN,lndividual;                          W OLATION OF FDU TPA
CYNTH IA W A LLA CE,lndividual;                           M AIL FM UD
JO ANN REIN,lndividual;                                   W IRE FM UD
LA W O FFICE O F DAV ID J.STERN P.A.;                     UTTERING
D A V ID JA M ES ST ER N ,E squire;                          R.I.C.O.
K ARO L S.PIER CE,Esquire;                         FRAUDULENT G DUCEM ENT
CA SSAND RA M CIN E-R IG AUD,Esquire;                     FALSE CLAN
 M ISTY BA RNES,Esquire;                               M ORTGAGE FM UD
 DA R LIN E D IETZ ,N otary;                       PRO FESSIONAL NEGIGENCE
 JO H N D O E 1 - 100;
 JANE DO E 1- 100;                                      DEM AND FOR JURY
                                                             T R IA L
                                 Defendants. )            Fed.R.CiV.P.38(b)
                                              /


    O BJECTION TO DEFENDANT M ISTY BARN ES'M O TIO N TO DISM ISS



 KORM AN v AUROM d ?.               Page 1 of 7
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           PetitionerObjectsto DEFENDANT M ISTY BARNES'M OTION TO

DISM ISS,and asgroundsstate;


           lndetermilingwhetherto grantaRule l2(b)(6)motion,ora8 cfseq
motion,theCourtshallnotdismissacomplaintifitincludes*ienoughfactstostatea
claim forreliefthatisplausibleon A .flce ''BellAtlanticCorp.v.Twomblv.550
U.S.544.570,127S.Ct.1955,(2007)(dismissingcomplaintbecauseplaintiffshadnot
Hnudged theirclaimsacrossthelinefrom cnnceivabletoplausible'').TheCourt
66mustWew thecomplaintin thelightmostfavorableto theplaintW andacceptallof
theplaintiffswell-pleadedfacts> true.''Am ericanUnited Life Ins.Co.v.
M artinez.480 F.3d 1043,1057(11th Cir.2007).6&Whilea complaintJ//lrke# by a
Rule12(b)(6)lll/#ozlto#1:-1:.
                            :doesnotneed detailedfactualallegations,(citations
omitted),aF/lfzl/z:f/'.çobligation '/providethe f
                                                gr/zzzlzç'ofhis 6entitlelmentl/5
relief requiresmorethan labelsand conclusions,and aformulaicrecitation ofthe
 elementsofa causeofaction willnotdo.''Twomblv.550 U.S.at555,127 S.Ct.at
 1964-65.To survivea m otion to dism issunderTwom bly-a com plaint'sfactual

 allegations,ifassumed tobetnze,i*mustbeenough to r/içetherighttoreliefabove
 the speculative level.''Petitionerm eetsthisbtlrden underTw om bly.

             TheSupremeCourthasexplainedthatacomplaintneed only Gkivethe
 defendantfairnoticeofwhattheplaintl
                                   v sclaim isand thegroundsupon which it
 rests.''Swierkiewiczv.Sorema N.A.,534U.S.506,512 (2002),
                                                        .accord Atchison.

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Topeka& Santa FeRv.v.Buell,480U.S.557,568n.15 (1987)(tmderFederalRule
8,claimanthasGGno #lz@ tosetoutallof therelevantfactsin /liçcomplaintà.
Qtî/ec#ic-flc/.çarezl/znecessary in a f7/> &faz;insteas thestatementneedt'zly
  x


kivethedefendantfairap/freofwhatthe...claim isand thegroundsupon which it
rests.''EposTech-,636 F.Supp-zd 57,63(D.D.C.2009)(quoting BellAtlanticv.
Twom blv,550 U.S.544,555(2007)).Thus,theFederalRulesembodyttnotice
pleading''and requke only aconcise statem entofthe claim ,ratherthan evidentiary

facts.A ccordingly,D efendant'sM otion w ould be considered properly filed only w here

a Plaintiff scomplaintisun-intelligible,notwhere a complaintsuffersfortlack of

 detail.''EposTech-,636F.Supp.2d at63 (citationsom itted).Thesimplifiednotice

 pleading standardrelieson liberaldiscoveryrulesand summaryjudo entmotionsto
 define disputed factsand to dispose ofIm m eritoriousclaim s.See Swierkiew icz,534

 U .S.at512.Indeed,courtshave found thatifthe inform ation soughtby the m otion is

 obtainable through discoverymthem otion should be denied.See,e.g.,TowersTenant

 Ass'n v.Towen Ltd.P'ship,563 F.Supp.566,569(D.D.C.1983)(denying motion
 fora more definite statem entbecause detailssuch asGLdates,tim es,nam es andplacef'

  areGGthecentralobjectl.f#/r/ver-p,andneed notbepleadel').Here,theComplaintis
  notunintelligibleorconfusing and doesnotviolate FederalRule ofCivilProcedure

  8(a)'srequirementofGGashortandplain statem entoftheclaim showing thatthe




  KORM AN v AUROM a c                   Page 3 of7
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pleaderisentitled// relief''TheComplaintclearlyhasamorethan sufficientstatement
ofthe claim and m ore than m eetstherequirem entthatitbe ttshortand plain.''

            ThisCom plaint,taken in itstotality,draw sthe presum ption M ISTY

BARN ES,Esq.,Aided and Abetted a CivilConspiracy to attorn real-estatefrom

Petitionersetoversam eto the Client,AURORA LOAN SERVICES LLC,which lacks

standingto m aintain an Action,ab initio.M ISTY B          S,Esq.,accepted m oney in

turn used herOfficeto facilitate aw rongfulForeclostlre Action in violation ofTitle 11

U .S.C.362(C),which isafederalcrime.
            W STY BARNES,Esq.,did notactalone,butasaco-conspiratorin a

Foreclosure M ill,actively conspired to defraud PetitionerofhisH omestead Real-Estate,

in violation ofPetitioner's constim tionally protected right.

             M ISTY B         S,Esq.,activelyparticipated in ajointventurewith the
 LA W OFFICES OF D AVID J.STERN P.A .,asa co-conspirator.

             M ISTY BARN ES,Esq.,com m itted a Fraud upon theCourtby indorsing

 the com m encem entofaForeclosure ComplaintagainstPetitionertherein claim ing to

 representtheLender,Successorin Interest,orA ssigneethereof,when in factM ISTY

 BARNES,Esq.,knew thisw asa false averm entpredicated on the Complaintshe

 indorsed.M ISTY BARN ES,Esq.,acting in herprofessionalcapacity knew AURORA

 LOAN SERV ICES LLC lacked thesine qua non to foreclose,asAU RORA LOAN

 SERV ICES LLC lacked the genuine M ortgage-N o'rE ab initio;howevera copy ofthe



 KORM AN vAUROM a al.                    Page 4 of7
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M ortgage-N o'l-E isattached to the un-verified Com plaint,Specially lndorsed setover

to LEHM AN BROTHERS HOLDING S INC .Assuch W STY BARN ES,Esq.,acted in

aprofessionally negligentm atter,caused Petitionerem otionalduress,tim e and m oney.

            W STY BARN ES,Esq.,did notexhibitduecare in the Foreclosure Action

againstPetitionerbecausethe copy oftheN OTE identifesthe Real-party-in-lnterest

and itisnotthe ClientAURORA LOAN SER VICES LLC,asfalsely alleged.

             Law yerisresponsible forfalse debtcollection claim ,FederalFairD ebt

CollectionPracticesAct,15U.S.C.S.j1692cfseq,and Heintzv.Jenkins,514 U.S.

291;115S.Ct.1489,131L.Ed.2d 395(1995).
             M ISTY B        S,Esq.,isa professional'
                                                    ,acting in herprofessional

 capacity com m enced a legalAction againstPetitionermto perm anently deprive

PetitionerofReal-Estate,averring to representthe Lender,Successor,orAssignee

 thereof,whereby the acm alCom plaintitself,indorsed by M ISTY BARNES,Esq.,does

 notillustrate a nexus between the O riginator ofthe Loan and A U R OR A LO AN

 SERVICES LLC asSuccessor,orAssignee thereof;show sa lack ofdue care,and

 professionalnegligenceby M ISTY B          S,Esq.,causing harm to thePetitioner.ltis

 notuntilthe un-verified Am ended Complaintdoesan Assignm entappem',propounding

 thetransferofthe GtM ortgage togetherw ith the NO TE''a fabricated docum ent,

 created from who1e-cloth,ergo created a counterfeitpublicrecord in lightofthe

 ûtcertified Document''filedwith thisCourtcontemporaneously with thisobjection'
                                                                              ,


 K ORM AN vAUROM a a1.                  Page 5 of7
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     Certified Docum entisacquired by Petitionerfrom the Suprem e Courtofthe State of

     N ebraska,titled)M ORTGA GE ELECTRON IC REGISTR ATION SY STEM S IN C v.

     NEBRASK A DEPARTW N T OF BAN KING M D FINAN CE,date Opinion isfiled

     O ctober 2lSt2005,.seeNOTICE filed sameday asthisobjection,titl
                                                                   ed
     DEFENDANT'S REQUEST FOR JUDICIM .NOTICE OF ADJUDICATIVE FACT.
     The M ERS Assignm entwhich purportsto assign the M ortgagetogetherwith the NOTE

     isafraudulentfactum .

W IIEREFORE,based on the foregoing,and the adm issible evidence found within the

      JUDICIAL N O TICE filing,thisCourtshould D EN Y DefendantW STY BARN ES'

     M OTION TO D ISW SS,in the alternativepermitPetitionerleave to Am end.



      Respectfully subm itted;


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                                                                         1 934 5 z1 ay
                                                                           Boca R aton 33486
                                                                             Florida U .S.A .
                                                                                 (561)393-0773
                                                            korman200l@ comcast.net




      KORM AN vAURORA G 4.                Page 6 of7
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   Case 9:12-cv-80364-KAM Document 56 Entered on FLSD Docket 07/31/2012 Page 7 of 7



                            C ERTIFICATE O F SERVICE

TH E UNDER SIGN ED H EREBY CERTIFIES thata tnle and correctcopy ofhereof
hasbeen forwarded,via firstclassU .S.M ail,to the following'
                                                           ,Steven Ellison,Esquire,
Broad and Cassel,OneN orth Clem atisStreet,Suite 500,W estPalm Beach Florida
33401,
     '


V ia e-m ailto the follow ingn
                             '

H A RR IS K .SO LO M ON
hv is.solomon@briA leymorgan.com
STACY M .SCHW ARTZ
Stacy.schwm z@briA leymorgan.com
M BA L.CLEVELAND
Alba.cleveland@briA leymorgan.com
K ALEY LOM B ARD O
Kaley.Lombardo@brinkleymorgan.com

Spencer Tew
st@tewlaw.com
on this31stday ofJuly,2012.

                                                            Jolm K orm an
                                                           934 SW 21stw ay
                                            Boca Raton,Florida 33486
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                                                               (561)393-0773         ,.
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